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            EXHIBIT A
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Exhibit
            Date                  Exhibit Name                    Beg Bates        End Bates
 No.


                        Call between Laura Janke and Rick
 565      9/19/2018                                              Session 8344     Session 8344
                                     Singer


                        Call between Todd Greenbaum and
 566      9/19/2018                                              Session 8374     Session 8374
                                   Rick Singer


                        Call between Todd Greenbaum and
 567      9/19/2018                                              Session 8379     Session 8379
                                   Rick Singer


                       Call between Rick Singer and Donna
 569      9/28/2018                                              Session 9211     Session 9211
                                     Heinel


                        Text message from John Wilson to       SINGER-PHONE-    SINGER-PHONE-
 570      9/28/2018
                                  Rick Singer                      000009           000010


                        Call between Rick Singer and John
 571      9/29/2018                                              Session 9249     Session 9249
                                     Wilson


                       Call between Donna Heinel and Rick
 572      10/2/2018                                              Session 9394     Session 9394
                                     Singer


                       Call between Donna Heinel and Rick
 574      10/5/2018                                              Session 9593     Session 9593
                                     Singer


                       Call between Marci Palatella and Rick
 577      10/9/2018                                              Session 9804     Session 9804
                                     Singer


                        Call between Rick Singer and John
 578      10/15/2018                                            Session 10126    Session 10126
                                     Wilson


                        Check from John Wilson and             VB-FINANCIALS-   VB-FINANCIALS-
 579      10/16/2018
                                      to The Key                  01098539         01098539

          10/17/2018
                        Text messages between Rick Singer      SINGER-PHONE-    SINGER-PHONE-
 580          to
                                 to John Wilson                    000471           000494
          10/22/2018




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Exhibit
            Date                  Exhibit Name                     Beg Bates         End Bates
 No.

                        Email from John Wilson to Debbie
 581      10/17/2018     Rogers, re: The Key Worldwide         USAO-VB- 01602613 USAO-VB- 01602613
                                   FOundation

                        Email from John Wilson to Debbie
 582      10/17/2018    Rogers, et al., re: Wire from HPC      USAO-VB- 01602759 USAO-VB- 01602759
                              Account ending 2343

                          Wire from John Wilson to Key         VB-FINANCIALS-     VB-FINANCIALS-
 583      10/17/2018
                             Worldwide Foundation                 00007260           00007260

                        Email from Debbie Rogers to
                                      re: Tax ID number and
 584      10/22/2018                                        USAO-VB- 01598107 USAO-VB- 01598108
                        Legal Name of Foundation for Tax
                                     Purposes
                        Email from John Wilson to
 585      10/22/2018                    re: Setting up HSA  USAO-VB- 01602542 USAO-VB- 01602543
                              this year for HPC inc

                       Call between Marci Palatella and Rick
 586      10/24/2018                                             Session 10587      Session 10587
                                     Singer


                         Session 10712: Audio file of call
 587      10/25/2018                                             Session 10712      Session 10712
                         between SingerR and AbdelazizG


                       Call between Rick Singer and Homa
 588      10/25/2018                                             Session 10721      Session 10721
                                     Zadeh


                       Text messages between Marci Paltella     SINGER-PHONE-     SINGER-PHONE-
 589      10/25/2018
                                 and Rick Singer                    000194            000194


                        Call between Elisabeth Kimmel and
 590      10/26/2018                                             Session 10741      Session 10741
                                   Rick Singer


                        Call between Rick Singer and John
 591      10/27/2018                                             Session 10823      Session 10823
                                     Wilson


                        Call between Rick Singer and John
 594      11/5/2018                                              Session 11187      Session 11187
                                     Wilson




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Exhibit
             Date                 Exhibit Name                  Beg Bates        End Bates
 No.


          11/6/2018 to Text messages between John Wilson      VB-RECORDS-      VB-RECORDS-
 597
           1/10/2019            and Rick Singer                 00296027         00296031

                       Wire from                    and
                                                             VB-FINANCIALS-   VB-FINANCIALS-
 598       11/6/2018      Homayoun Zadeh to The Key
                                                                01098638         01098638
                              Worldwide Foundation

                        Call between Rick Singer and John
 602      11/29/2018                                          Session 12347    Session 12347
                                     Wilson


                        Text message from John Wilson to     SINGER-PHONE-    SINGER-PHONE-
 603      11/29/2018
                                  Rick Singer                    000469           000470


                       Call between Rick Singer and Davina
 604       12/3/2018                                           0860.004.wav     0860.004.wav
                                    Isackson


                       Call between Rick Singer and Laura
 605       12/3/2018                                           0860.008.wav     0860.008.wav
                                     Janke


                       Call between Rick Singer and Laura
 606       12/3/2018                                           0860.009.wav     0860.009.wav
                                     Janke

                          Audio recording of conversation
                           between Rick Singer, Davina
 607       12/3/2018                                           0860.010.wav     0860.010.wav
                        Isackson, Bruce Isackson and


                       Call between Rick Singer and Davina
 608       12/3/2018                                          Session 12606    Session 12606
                                    Isackson


                        Call between Laura Janke and Rick
 609       12/3/2018                                          Session 12658    Session 12658
                                     Singer


                        Call between Laura Janke and Rick
 610       12/3/2018                                          Session 12670    Session 12670
                                     Singer

                          Check for $20,000 to Clear the
                                                             VB-FINANCIALS-   VB-FINANCIALS-
 611       12/6/2018       Clearinghouse from the Key
                                                                01103682         01103686
                             Worldwide Foundation




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Exhibit
            Date                 Exhibit Name                   Beg Bates         End Bates
 No.

                     Wire from                    and
                                                            VB-FINANCIALS-     VB-FINANCIALS-
 612      12/10/2018    Homayoun Zadeh to The Key
                                                               01082973           01082973
                            Worldwide Foundation

                        Email from Rick Singer to John
 613      12/11/2018   Wilson, re: Wire from HPC account    USAO-VB- 01600594 USAO-VB- 01600595
                                   ending 2343

                       Email from Debbie Rogers to
 614      12/11/2018                    re: Donation        USAO-VB- 01718787 USAO-VB- 01718789
                                 Deductibility

                         Wire from John Wilson to Key       VB-FINANCIALS-     VB-FINANCIALS-
 615      12/11/2018
                            Worldwide Foundation               00007214           00007219


                        Call between Davina Isackson and
 616      12/20/2018                                          Session 13473      Session 13473
                                   Rick Singer

                       Email from               to
 617      12/26/2018            re: Wire transfer for       USAO-VB- 01590834 USAO-VB- 01590834
                          and Homa Zadeh INV 1139

                        Email from Donna Heinel to Rick     DOJ-SINGER-TIII-   DOJ-SINGER-TIII-
 618      12/28/2018
                        Singer re: Counting stars invoice       00048174           00048175


                       Call between Donna Heinel and Rick
 619      12/31/2018                                          Session 13753      Session 13753
                                     Singer


                       Call between Rick Singer and Jovan
 620       1/2/2019                                           Session 13889      Session 13889
                                     Vavic


                       Call between Rick Singer and Gamal
 621       1/3/2019                                           Session 13905      Session 13905
                                    Abdelaziz


                       Call between Elisabeth Kimmel and
 622       1/3/2019                                           Session 13909      Session 13909
                                  Rick Singer


                       Call between Rick Singer and John
 623       1/3/2019                                           Session 13940      Session 13940
                                    Wilson




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Exhibit
            Date                 Exhibit Name                    Beg Bates        End Bates
 No.


                       Call between Rick Singer and John
 625      1/10/2019                                            Session 14325    Session 14325
                                    Wilson


                      Call between Marci Palatella and Rick
 626      1/10/2019                                            Session 14341    Session 14341
                                    Singer


                      Call between Marci Palatella and Rick
 627      1/10/2019                                            Session 14342    Session 14342
                                    Singer


                      Call between Marci Palatella and Rick
 630      2/25/2019                                            Session 16050    Session 16050
                                    Singer


                        Email from Debbie Rogers to Jim        VB-RECORDS-      VB-RECORDS-
 631      3/4/2019
                        Nahmens, re: Donation Ack HPC            00365671         00365671


                        Letter from The Key Worldwide          VB-RECORDS-      VB-RECORDS-
 632      3/7/2019
                          Foundation to John Wilson              00365702         00365702


                      Text messages between Donna Heinel      SINGER-VOL006-   SINGER-VOL006-
 634      3/9/2019
                             and Agustine Huneeus                 005644           005644




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